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                           No. 22-1431

          IN THE UNITED STATES COURT OF APPEALS
                  FOR THE THIRD CIRCUIT


                MUHAMMAD LEACH, Appellant,
                             v.
KATHLEEN A. BISCOE; ROBERT W. KELLEY; JACOB S. DAVIS; DIANE A.
              DAYA; NEIL INCH-DIORIO, Appellees.
           ___________________________________________
         ON APPEAL FROM THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

            ____________________________________________
                      APPELLANT’S REPLY BRIEF
            ____________________________________________
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                                ARGUMENT
  I.     The Government Ignores Direct Record Evidence That
         Defendant Daya Filed a Misconduct Charge for
         Retaliatory Motives.
       The government’s focus on the time between Mr. Leach’s grievance

and Defendant Daya’s misconduct charge simply ignores, and does

nothing to refute, the direct evidence of Defendant Daya’s retaliatory

animus. She tauntingly told Mr. Leach that because “he likes to file

grievances,” he has “to take the misconduct report up with” the

disciplinary Unit Manager. JA 133. This statement, alone, exhibits her

retaliatory animus. Throughout this lawsuit, the government has ignored

multiple opportunities to address this retaliatory statement by

Defendant Daya.

       Nor does the government address Defendant Inch-Diorio’s

statement that Mr. Leach’s ongoing grievance warranted removal from

his dietary work assignment, which also signaled retaliatory animus in

response to Mr. Leach’s grievance. JA 133. For these reasons, Mr. Leach

has satisfied the burden of presenting sufficient uncontested evidence to

prove that he suffered unconstitutional retaliation by Defendants.




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  II.     DC-ADM 804’s Plain Language Forecloses Grievances
          Relating to a Misconduct Charge and Does Not Warrant
          Substantial Deference to the Government’s Proposed
          Interpretation.
        The government’s claim that Mr. Leach was obligated to pursue his

grievance regarding Defendant Daya’s retaliatory misconduct charge

using DC-ADM 804 does not comport with the plain language of the

prison’s grievance policy. The internal grievance policy plainly states

that “issues concerning a specific inmate misconduct charge . . . must be

addressed      through    Department         policy   DC-ADM        801,       Inmate

Discipline . . . .” JA 048 at DC-ADM 804 § 1(A)(7) (emphasis added). The

government’s contention that prisoners “should err on the side of

exhaustion” is irrelevant here, as prisoners are only expected to err on

the side of exhaustion when the prison’s policy is “susceptible of multiple

reasonable interpretations.” Ross v. Blake, 578 U.S. 632, 644 (2016). DC-

ADM 804’s text does not and could not warrant any other interpretation.

        Further, deference to the government’s incorrect interpretation is

unwarranted because the proper “reading” of DC-ADM 804 “‘is compelled

by the regulation’s plain language . . . .’” Thomas Jefferson Univ. v.

Shalala, 512 U.S. 504, 512 (1994) (quoting Gardebring v. Jenkins, 485

U.S. 415, 430 (1988)). The government’s interpretation of DC-ADM 804



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cannot be deemed “controlling” because “it is plainly erroneous [and]

inconsistent with” the policy’s text. El-Ganayni v. U.S. Dep’t of Energy,

591 F.3d 176, 187 (3d Cir. 2010).

     Indeed, the government in Saleem v. Brungart explicitly recognized

the unavailability of DC-ADM 804 for the same grievance claims

pertaining to misconduct concerns. No. 20-1610, 2022 WL 17336208 (3d

Cir. Nov. 30, 2022). In that case, Saleem alleged that the defendant

retaliated and falsified a misconduct charge and report. Appellee’s Br. at

25 (3d Cir. Case No. 20-1610 – ECF No. 26). The government in Saleem

explained that “[t]he Facility Grievance Coordinator rejected Saleem’s

grievance because it attempted to grieve [the defendant] ‘filing false

statements’ in misconduct report C081856.” Id. In other words, because

“[t]his type of grievance is explicitly a type not permitted to be grieved

through DC-ADM 804 – i.e., statements written within a misconduct,”

DC-ADM 804 remained unavailable. Id. (emphasis in original).

     The government’s argument in Saleem applies equally here—

grievanaces related to the misconduct charge (or the charge’s contents)

are “explicitly a type not permitted to be grieved through DC-ADM 804.”

The government’s reading of DC-ADM 804 in Saleem cannot be



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reconciled with its diametrically opposite reading of DC-ADM 804 in this

appeal.

  III. The District Court’s Failure to Provide Mr. Leach Notice
       and an Opportunity to be Heard Remained Improper in
       Light of Disputes of Material Fact.

     The government’s heavy reliance on the Prison Litigation Reform

Act (PLRA) and its grant of discretion to courts is misplaced. The PLRA

does not go as far to grant courts unlimited discretion to independently

raise and then adjudicate an administrative exhaustion issue that should

and must be affirmatively raised by defendants. See Robinson v.

Superintendent Rockview SCI, 831 F.3d 148, 153 (3d Cir. 2016)

(emphasizing that “failure to exhaust is an affirmative defense that [the

defendant] must plead and prove”). The PLRA specifically states that a

court has the discretion to dismiss a lawsuit that “fails to state a claim

upon which relief can be granted.” 42 U.S.C. § 1997e(c)(1). The District

Court here, however, recognized that Mr. Leach asserted a legitimate

retaliatory misconduct claim that could warrant relief but concluded that

he procedurally defaulted based on its sua sponte conclusion that Mr.

Leach failed to exhaust available administrative remedies. JA027.




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     It is well settled that when the District Court sua sponte raised this

administrative exhaustion issue regarding Mr. Leach’s retaliatory

misconduct claim, it needed to provide Mr. Leach proper notice and an

opportunity to be heard on this administrative exhaustion inquiry. As an

example, in Frederick v. Herb, the district court still had to consider

whether the prisoner “Plaintiff was on notice by the Moving Defendants’

motion that the exhaustion of his administrative remedies was an issue

on which the Court may grant summary judgment.” No. 4:18-CV-02204,

2020 WL 1700439, at *5 (M.D. Pa. Apr. 8, 2020). Here, although a full-

scale evidentiary hearing is not required for prisoners to show proper

exhaustion, the District Court did not fulfill the minimum requirement

of notifying Mr. Leach that “it will consider exhaustion in its role as a

fact finder” with respect to his retaliatory misconduct claim. Paladino v.

Newsome, 885 F.3d 203, 211 (3d Cir. 2018).

     Furthermore, the District Court’s grant of summary judgment sua

sponte without notice remained improper because: (1) the record was not

fully developed, (2) the lack of notice prejudiced Mr. Leach, and (3) the

summary judgment decision was based on factual issues. As a main point

of contention, the government claims that this question of administrative



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exhaustion remains a purely legal issue that defeated the need to provide

notice to Mr. Leach. Yet, material facts remained in dispute that the

District Court did not consider. For example, the District Court concluded

that Mr. Leach procedurally defaulted on his retaliatory misconduct

claim based on the single fact that his retaliation claim “was summarily

dismissed . . . and failed to comply with DOC grievance procedure.” JA

021. The District Court further concluded that Mr. Leach had “not

identified a basis to excuse his procedural default.” Id.

     If granted the proper opportunity, Mr. Leach could have disputed

the fact about why the Facility Grievance Coordinator summarily

dismissed his retaliatory misconduct claim. The Court did not provide

any opportunity for Mr. Leach to identify a basis to excuse this procedural

default, and if granted the opportunity, Mr. Leach could have presented

pertinent facts about the unavailability of administrative remedies for

his retaliatory misconduct claim.

     Even if the exhaustion issue was not purely a factual issue, this

mixed question of fact and law still warranted the District Court

providing Mr. Leach an opportunity to present his arguments about why

the internal prison policies offered no available remedy for his retaliatory



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misconduct claim. The District Court granted summary judgment based

on a conclusory finding that Mr. Leach failed to exhaust available

administrative remedies but did not consider whether the internal prison

policies even offered any available remedy for such claim. This error, at

the minimum, warrants remand for the District Court to review the

prison policies and determine the availability of any remedy for this

retaliatory misconduct claim.

  IV.    Mr. Leach Suffered an Adverse Action That Would Deter
         a Person of Ordinary Firmness to No Longer Engage in
         the Constitutionally Protected Conduct.
     A misconduct charge and all its potential consequences, even if

resolved through the informal resolution process, is an adverse action

that could deter a person of ordinary firmness from exercising his

constitutional right to file future grievances. The government’s reliance

on Brightwell v. Lehman does not support its claim that Mr. Leach did

not suffer an adverse action. In Brightwell, the Court concluded that the

plaintiff did not suffer an adverse action because his misconduct charge

was dismissed. 637 F.3d 187, 194 (3d Cir. 2011). Here, Mr. Leach’s charge

was not dismissed. In fact, Defendant Biscoe’s “no action” adjudication

through the informal resolution process with respect to the falsified

misconduct charge against Mr. Leach will forever and always be

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“reflected on [Mr. Leach’s] applicable block and work reports.” JA 070 at

DC-ADM 801 § 2(C)(4). As a tangible example, Defendant Daya’s falsified

misconduct charge, alleging that Mr. Leach failed to report to work, could

negatively impact his reputation with work supervisors and may fuel this

false narrative that Mr. Leach is an unreliable worker. The government

asserts that Mr. Leach’s informal resolution would not be “considered

misconducts for purposes of parole or pre-release,” but that assertion

misses the point. Id. This falsified misconduct charge follows Mr. Leach

throughout his time in prison and could potentially impact different

facets of his life inside the prison.

      It is important to note the significant consequence that arises from

these retaliatory misconduct charges and the informal resolution process

that the DC-ADM policies set forth. If a corrections officer files a falsified

and retaliatory misconduct charge that results in an informal resolution

without a formal sanction, a prisoner like Mr. Leach has no forum to seek

meaningful redress and file a grievance against such unconstitutional

conduct. This consequence warrants some form of relief whether through

the internal prison policies or, absent an internal grievance forum, a

federal lawsuit under 42 U.S.C. § 1983.



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                               CONCLUSION
     For the foregoing reasons, this Court should vacate the District

Court’s entering judgment in favor of the Defendants and remand to the

District Court for further proceedings.




                                          Respectfully Submitted,

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                 CERTIFICATE OF ADMISSION TO THE BAR

     Pursuant to 3d Cir. L.A.R. 28.3(d), I hereby certify that Will W.

Sachse, Michael A. Fazio, and Christopher J. Merken are members in

good standing of the bar of the United States Court of Appeals for the

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         CERTIFICATE OF COMPLIANCE WITH FEDERAL RULE OF
                   APPELLATE PROCEDURE 32(A)

      Appellant’s Reply Brief contains 1,585 words, excluding those

portions of the brief exempted by FED. R. APP. P. 32(f), and therefore

complies with the limitation on brief length set forth in FED. R. APP. P.

32(a)(7)(B)(i).

      Apellant’s Reply Brief has been prepared in 14-point Century

Schoolbook font and therefore complies with the typeface requirements

of FED. R. APP. P. 32(a)(5) and the type-style requirements of FED. R. APP.

P. 32(a)(6).

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                CERTIFICATE OF COMPLIANCE WITH
           LOCAL RULE OF APPELLATE PROCEDURE 31.1(C)

     Appellant’s Reply Brief complies with the electronic filing

requirements of 3d Cir. L.A.R. 31.1(c) because:

     (1)   The text of the electronic brief filed with the Court is identical

           to the text of the paper copies of the brief to be filed with the

           Court and served on the parties; and

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           using Windows Defender Antimalware Version 4.18.2211.5,

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           Windows Defender Antispyware Version 1.381.202.0 and no

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                        CERTIFICATE OF SERVICE

     I hereby certify that on February 15, 2023, I caused the foregoing

Appellant’s Reply Brief to be filed through the Third Circuit CM/ECF

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